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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SYRENA GATHRIGHT                              :             CIVIL ACTION
                                              :
               v.                             :
                                              :
TN WARD COMPANY,                              :
DAVID TARDITI and MARK SMITH                  :             NO. 14-4521

                                          CIVIL JUDGMENT

               AND NOW, this 2nd day of October, 2015, in accordance with the verdict of the jury,

by way of interrogatories, it is hereby

                                             ORDERED

that Judgment be and the same is hereby entered in favor of defendants, TN Ward Company, David

Tarditi and Mark Smith, and against plaintiff, Syrena Gathright.



                                                    BY THE COURT:



                                                    /s/ Thomas J. Rueter
                                                    THOMAS J. RUETER
                                                    United States Magistrate Judge
